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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                                                )                    Case No: 8:05CR406
                  Plaintiff,                    )
           v.                                   )                           ORDER
                                                )
LUISANA MIRANDA,                                )
                                                )
                  Defendant.


      The court has been presented a Financial Affidavit (CJA Form 23) signed by the
     above-named defendant in support of a request for appointed counsel. After a review
     of the Financial Affidavit, I find that the above-named defendant is eligible for
     appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and
     Amended Criminal Justice Act Plan for the District of Nebraska.

      IT IS ORDERED that Kristina B. Murphree is appointed as attorney of record for the
     above-named defendant in this matter and shall forthwith file an appearance in this
     matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall forthwith
     provide counsel with a draft appointment order (CJA Form 20) bearing the name and
     other identifying information of the CJA Panel attorney identified in accordance with the
     Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that counsel’s appointment herein is made pursuant to 18
     U.S.C. § 3006A(f). At the time of the entry of judgment herein, defendant shall file a
     current and complete financial statement to aid the court in determining whether any
     portion of counsel’s fees and expenses should be reimbursed by defendant.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
     Federal Public Defender for the District of Nebraska and Kristina B. Murphree.

      DATED this 22nd day of November, 2005.

                                              BY THE COURT:

                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
